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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


THE DISTRICT OF COLUMBIA, et al.                     *

         Plaintiffs                                  *

         v.                                          *            Civil Action No. PJM 17-1596

DONALD J. TRUMP,                                     *
in his official capacity as
President of the United States of America            *

         Defendant                                   *

                                                 ORDER

          During further proceedings in this matter, no person may possess or transport into Courtroom

 4C any electronic devices, including cellular telephones, cameras, recording devices of any type

 including “smart” watches and “smart” pens, and/or computers, including laptops and tablets. This

 restriction shall not apply to employees of the United States District Court for the District of Maryland,

 the United States Marshal or his Deputies, Court Security Officers, counsel of record in this case,

 employees of state and federal law enforcement agencies, and/or investigators and employees of

 counsel representing parties in the case, provided those investigators and employees of counsel are

 identified to the United States Marshal in advance. Persons subject to this Order are advised not to

 bring any such electronic devices to the courthouse.

         Except with respect to any recording device, which is prohibited, this Order shall not apply to any

overflow courtrooms in these proceedings.

         The United States Marshal, his Deputies, and the Court Security Officers shall enforce this

Order.



January 5, 2018                                                       /s/
                                                                 PETER J. MESSITTE
                                                          UNITED STATES DISTRICT JUDGE
